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 10    www.patpat.com
 11                            UNITED STATES DISTRICT COURT
 12                       CENTRAL DISTRICT OF CALIFORNIA
 13   NEMAN BROTHERS & ASSOC.,                Case No. 2:20-cv-11181-CAS-JPR
      INC., a California Corporation,
 14                                           [PROPOSED] STIPULATED
                  Plaintiff,                  PROTECTIVE ORDER REGARDING
 15                                           CONFIDENTIAL INFORMATION
            v.
 16                                           (The Hon. Christine A. Snyder)
      INTERFOCUS, INC. d.b.a.
 17   www.patpat.com, a Delaware              Amended Complaint filed January 5, 2021
      Corporation; CAN WANG, and
 18   individual, and DOES 1-10, inclusive,
 19               Defendants.
 20
      INTERFOCUS, INC. d.b.a.
 21   www.patpat.com, a Delaware
      Corporation; CAN WANG, and
 22   individual, and DOES 1-10, inclusive,
 23               Counterclaim Plaintiffs

 24         v.

 25   NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
 26
                  Counterclaim Defendant.
 27

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  2   1.    INTRODUCTION
  3         1.1     PURPOSES AND LIMITATIONS
  4         Discovery in this action may involve production of confidential, proprietary,
  5   or private information for which special protection from public disclosure and from
  6   use for any purpose other than prosecuting this litigation may be warranted.
  7   Accordingly, the Parties hereby stipulate to and petition the Court to enter the
  8   following Stipulated Protective Order. The Parties acknowledge that this Order
  9   does not confer blanket protections on all disclosures or responses to discovery and
 10   that the protection it affords from public disclosure and use extends only to the
 11   limited information or items that are entitled to confidential treatment under the
 12   applicable legal principles. The Parties further acknowledge, as set forth in Section
 13   12.3 below, that this Order does not entitle them to file Confidential Information
 14   under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed
 15   and the standards that will be applied when a Party seeks permission from the Court
 16   to file material under seal.
 17         1.2    GOOD CAUSE STATEMENT
 18   This is a copyright infringement action involving the quantities of
 19   purchase/sale of the accused products, earnings and costs, and developing
 20   designs. In disclosing the internal records as to sales/purchase, costs, earnings,
 21   and designing procedures, the parties have concerns that those business
 22   confidential information may be unnecessarily disclosed to third parties or the
 23   public.
 24   2.    DEFINITIONS
 25         2.1    Action: this pending federal lawsuit
 26         2.2    Challenging Party: a Party or Nonparty that challenges the designation
 27   of information or items under this Order.
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  1          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
  2   how it is generated, stored, or maintained) or tangible things that qualify for
  3   protection under Federal Rule of Civil Procedure 26(c) and as specified above in the
  4   Good Cause Statement.
  5          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
  6   their support staff).
  7          2.5    Designating Party: a Party or Nonparty that designates information or
  8   items that it produces in disclosures or in responses to discovery as
  9   “CONFIDENTIAL.”
 10          2.6    Disclosure or Discovery Material: all items or information, regardless
 11   of the medium or manner in which it is generated, stored, or maintained (including,
 12   among other things, testimony, transcripts, and tangible things), that are produced or
 13   generated in disclosures or responses to discovery in this matter.
 14          2.7    Expert: a person with specialized knowledge or experience in a matter
 15   pertinent to the litigation who has been retained by a Party or its counsel to serve as
 16   an expert witness or as a consultant in this action.
 17          2.8    House Counsel: attorneys who are employees of a Party to this Action.
 18   House Counsel does not include Outside Counsel of Record or any other outside
 19   counsel.
 20          2.9    Nonparty: any natural person, partnership, corporation, association, or
 21   other legal entity not named as a Party to this action.
 22          2.10 Outside Counsel of Record: attorneys who are not employees of a
 23   Party to this Action but are retained to represent or advise a Party and have appeared
 24   in this Action on behalf of that Party or are affiliated with a law firm that has
 25   appeared on behalf of that Party, including support staff.
 26          2.11 Party: any Party to this Action, including all of its officers, directors,
 27   employees, consultants, retained experts, and Outside Counsel of Record (and their
 28   support staffs).
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  1         2.12 Producing Party: a Party or Nonparty that produces Disclosure or
  2   Discovery Material in this Action.
  3         2.13 Professional Vendors: persons or entities that provide litigation
  4   support services (for example, photocopying, videotaping, translating, preparing
  5   exhibits or demonstrations, and organizing, storing, or retrieving data in any form or
  6   medium) and their employees and subcontractors.
  7         2.14 Protected Material: any Disclosure or Discovery Material that is
  8   designated as “CONFIDENTIAL.”
  9         2.15 Receiving Party: a Party that receives Disclosure or Discovery
 10   Material from a Producing Party.
 11

 12   3.    SCOPE
 13         The protections conferred by this Stipulation and Order cover not only
 14   Protected Material (as defined above) but also any information copied or extracted
 15   from Protected Material; all copies, excerpts, summaries, or compilations of
 16   Protected Material; and any testimony, conversations, or presentations by Parties or
 17   their Counsel that might reveal Protected Material.
 18         Any use of Protected Material at trial will be governed by the orders of the
 19   trial judge. This Order does not govern the use of Protected Material at trial.
 20   4.    DURATION
 21         Even after final disposition of this litigation, the confidentiality obligations
 22   imposed by this Order will remain in effect until a Designating Party agrees
 23   otherwise in writing or a court order otherwise directs. Final disposition is the later
 24   of (1) dismissal of all claims and defenses in this Action, with or without prejudice,
 25   or (2) final judgment after the completion and exhaustion of all appeals, re-hearings,
 26   remands, trials, or reviews of this Action, including the time limits for filing any
 27   motions or applications for extension of time under applicable law.
 28   5.    DESIGNATING PROTECTED MATERIAL
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  1         5.1      Each Party or Nonparty that designates information or items for
  2   protection under this Order must take care to limit any such designation to specific
  3   material that qualifies under the appropriate standards. The Designating Party must
  4   designate for protection only those parts of material, documents, items, or oral or
  5   written communications that qualify so that other portions of the material,
  6   documents, items, or communications for which protection is not warranted are not
  7   swept unjustifiably within the ambit of this Order.
  8         Mass, indiscriminate, or routinized designations are prohibited. Designations
  9   that are shown to be clearly unjustified or that have been made for an improper
 10   purpose (for example, to unnecessarily encumber the case-development process or
 11   to impose unnecessary expenses and burdens on other parties) may expose the
 12   Designating Party to sanctions.
 13         If it comes to a Designating Party’s attention that information or items it
 14   designated for protection do not qualify for that level of protection, that Designating
 15   Party must promptly notify all other Parties that it is withdrawing the inapplicable
 16   designation.
 17         5.2      Except as otherwise provided in this Order, Disclosure or Discovery
 18   Material that qualifies for protection under this Order must be clearly so designated
 19   before the material is disclosed or produced.
 20         Designation in conformity with this Order requires the following:
 21         (a) for information in documentary form (for example, paper or electronic
 22   documents but excluding transcripts of depositions or other pretrial or trial
 23   proceedings), the Producing Party must affix at a minimum the legend
 24   “CONFIDENTIAL” to each page that contains Protected Material. If only a portion
 25   or portions of the material on a page qualify for protection, the Producing Party
 26   must clearly identify the protected portion(s) (for example, by making appropriate
 27   markings in the margins).
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  1                 A Party or Nonparty that makes original documents available for
  2   inspection need not designate them for protection until after the inspecting Party has
  3   indicated which documents it would like copied and produced. During the
  4   inspection and before the designation, all material made available for inspection
  5   must be treated as “CONFIDENTIAL.” After the inspecting Party has identified the
  6   documents it wants copied and produced, the Producing Party must determine which
  7   documents, or portions thereof, qualify for protection under this Order. Then,
  8   before producing the specified documents, the Producing Party must affix the
  9   “CONFIDENTIAL” legend to each page that contains Protected Material. If only a
 10   portion or portions of the material on a page qualify for protection, the Producing
 11   Party also must clearly identify the protected portion(s) (for example, by making
 12   appropriate markings in the margins).
 13         (b) for testimony given in depositions, the Designating Party must identify
 14   the Disclosure or Discovery Material that is protected on the record, before the close
 15   of the deposition.
 16         (c) for information produced in some form other than documentary and for
 17   any other tangible items, the Producing Party must affix in a prominent place on the
 18   exterior of the container or containers in which the information is stored the legend
 19   “CONFIDENTIAL.” If only a portion or portions of the information warrant
 20   protection, the Producing Party, to the extent practicable, must identify the protected
 21   portion(s).
 22         5.3     If timely corrected, an inadvertent failure to designate qualified
 23   information or items does not, standing alone, waive the Designating Party’s right to
 24   secure protection under this Order for that material. On timely correction of a
 25   designation, the Receiving Party must make reasonable efforts to assure that the
 26   material is treated in accordance with the provisions of this Order.
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  1   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
  2         6.1      Any Party or Nonparty may challenge a designation of confidentiality
  3   at any time consistent with the Court’s scheduling order.
  4         6.2      The Challenging Party must initiate the dispute-resolution process (and,
  5   if necessary, file a discovery motion) under Local Rule 37.
  6         6.3      The burden of persuasion in any such proceeding is on the Designating
  7   Party. Frivolous challenges, and those made for an improper purpose (for example,
  8   to harass or impose unnecessary expenses and burdens on other parties), may expose
  9   the Challenging Party to sanctions. Unless the Designating Party has waived or
 10   withdrawn the confidentiality designation, all parties must continue to afford the
 11   material in question the level of protection to which it is entitled under the
 12   Producing Party’s designation until the Court rules on the challenge.
 13   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
 14         7.1      A Receiving Party may use Protected Material that is disclosed or
 15   produced by another Party or by a Nonparty in connection with this Action only for
 16   prosecuting, defending, or attempting to settle this Action. Such Protected Material
 17   may be disclosed only to the categories of people and under the conditions described
 18   in this Order. When the Action has been terminated, a Receiving Party must comply
 19   with the provisions of Section 13 below (FINAL DISPOSITION).
 20         Protected Material must be stored and maintained by a Receiving Party at a
 21   location and in a manner sufficiently secure to ensure that access is limited to the
 22   people authorized under this Order.
 23         7.2      Unless otherwise ordered by the Court or permitted in writing by the
 24   Designating Party, a Receiving Party may disclose any information or item
 25   designated “CONFIDENTIAL” only to the following people:
 26               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 27   well as employees of that Outside Counsel of Record to whom it is reasonably
 28   necessary to disclose the information for this Action;
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  1            (b) the officers, directors, and employees (including House Counsel) of
  2   the Receiving Party to whom disclosure is reasonably necessary for this Action;
  3            (c) Experts (as defined in this Order) of the Receiving Party to whom
  4   disclosure is reasonably necessary for this Action and who have signed the
  5   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  6            (d) the Court and its personnel;
  7            (e) court reporters and their staff;
  8            (f) professional jury or trial consultants, mock jurors, and Professional
  9   Vendors to whom disclosure is reasonably necessary for this Action and who have
 10   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 11            (g) the author or recipient of a document containing the information or a
 12   custodian or other person who otherwise possessed or knew the information;
 13            (h) during their depositions, witnesses and attorneys for witnesses to
 14   whom disclosure is reasonably necessary, provided that the deposing party requests
 15   that the witness sign the form attached as Exhibit A hereto and the witnesses will
 16   not be permitted to keep any confidential information unless they sign the form,
 17   unless otherwise agreed by the Designating Party or ordered by the Court. Pages of
 18   transcribed deposition testimony or exhibits to depositions that reveal Protected
 19   Material may be separately bound by the court reporter and may not be disclosed to
 20   anyone except as permitted under this Order; and
 21            (i) any mediator or settlement officer, and their supporting personnel,
 22   mutually agreed on by any of the Parties engaged in settlement discussions or
 23   appointed by the Court.
 24   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
 25   IN OTHER LITIGATION
 26         If a Party is served with a subpoena or a court order issued in other litigation
 27   that compels disclosure of any information or items designated in this Action as
 28   “CONFIDENTIAL,” that Party must
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  1             (a) promptly notify in writing the Designating Party. Such notification
  2   must include a copy of the subpoena or court order unless prohibited by law;
  3             (b) promptly notify in writing the party who caused the subpoena or order
  4   to issue in the other litigation that some or all of the material covered by the
  5   subpoena or order is subject to this Protective Order. Such notification must include
  6   a copy of this Order; and
  7             (c) cooperate with respect to all reasonable procedures sought to be
  8   pursued by the Designating Party whose Protected Material may be affected.
  9         If the Designating Party timely seeks a protective order, the Party served with
 10   the subpoena or court order should not produce any information designated in this
 11   action as “CONFIDENTIAL” before a determination on the protective-order request
 12   by the relevant court unless the Party has obtained the Designating Party’s
 13   permission. The Designating Party bears the burden and expense of seeking
 14   protection of its Confidential Material, and nothing in these provisions should be
 15   construed as authorizing or encouraging a Receiving Party in this Action to disobey
 16   a lawful directive from another court.
 17   9.    A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
 18   PRODUCED IN THIS LITIGATION
 19             (a) The terms of this Order are applicable to information produced by a
 20   Nonparty in this Action and designated as “CONFIDENTIAL.” Such information is
 21   protected by the remedies and relief provided by this Order. Nothing in these
 22   provisions should be construed as prohibiting a Nonparty from seeking additional
 23   protections.
 24             (b) In the event that a Party is required by a valid discovery request to
 25   produce a Nonparty’s Confidential Information in its possession and the Party is
 26   subject to an agreement with the Nonparty not to produce the Nonparty’s
 27   Confidential Information, then the Party must
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   1                (1) promptly notify in writing the Requesting Party and the Nonparty
   2   that some or all of the information requested is subject to a confidentiality
   3   agreement with a Nonparty;
   4                (2) promptly provide the Nonparty with a copy of this Order, the
   5   relevant discovery request(s), and a reasonably specific description of the
   6   information requested; and
   7                (3) make the information requested available for inspection by the
   8   Nonparty, if requested.
   9             (c) If the Nonparty fails to seek a protective order within 21 days of
  10   receiving the notice and accompanying information, the Receiving Party may
  11   produce the Nonparty’s Confidential Information responsive to the discovery
  12   request. If the Nonparty timely seeks a protective order, the Receiving Party must
  13   not produce any information in its possession or control that is subject to the
  14   confidentiality agreement with the Nonparty before a ruling on the protective-order
  15   request. Absent a court order to the contrary, the Nonparty must bear the burden
  16   and expense of seeking protection of its Protected Material.
  17   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  18         If a Receiving Party learns that by inadvertence or otherwise, it has disclosed
  19   Protected Material to any person or in any circumstance not authorized under this
  20   Order, the Receiving Party must immediately notify the Designating Party in writing
  21   of the unauthorized disclosures, use its best efforts to retrieve all unauthorized
  22   copies of the Protected Material, inform the person or people to whom unauthorized
  23   disclosures were made of the terms of this Order, and ask that person or people to
  24   execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto
  25   as Exhibit A.
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   1   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   2   PROTECTED MATERIAL
   3         When a Producing Party gives notice to Receiving Parties that certain
   4   inadvertently produced material is subject to a claim of privilege or other protection,
   5   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
   6   Procedure 26(b)(5)(B).
   7   12.   MISCELLANEOUS
   8         12.1 Nothing in this Order abridges the right of any person to seek its
   9   modification by the Court.
  10         12.2 By stipulating to the entry of this Order, no Party waives any right it
  11   otherwise would have to object to disclosing or producing any information or item
  12   on any ground not addressed in this Order. Similarly, no Party waives any right to
  13   object on any ground to use in evidence of any of the material covered by this
  14   Order.
  15         12.3 A Party that seeks to file under seal any Protected Material must
  16   comply with Civil Local Rule 79-5. Protected Material may be filed under seal only
  17   pursuant to a court order authorizing the sealing of the specific Protected Material at
  18   issue. If a Party's request to file Protected Material under seal is denied, then the
  19   Receiving Party may file the information in the public record unless otherwise
  20   instructed by the Court.
  21   13.   FINAL DISPOSITION
  22         After the final disposition of this Action, as defined in paragraph 4, within 60
  23   days of a written request by the Designating Party, each Receiving Party must return
  24   all Protected Material to the Producing Party or destroy such material. As used in
  25   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  26   summaries, and any other format reproducing or capturing any of the Protected
  27   Material. Whether the Protected Material is returned or destroyed, the Receiving
  28   Party must submit a written certification to the Producing Party (and, if not the same
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   1   person or entity, to the Designating Party) by the 60-day deadline that identifies (by
   2   category, when appropriate) all the Protected Material that was returned or
   3   destroyed and affirms that the Receiving Party has not retained any copies, abstracts,
   4   compilations, summaries, or any other format reproducing or capturing any of the
   5   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
   6   archival copy of all pleadings; motion papers; trial, deposition, and hearing
   7   transcripts; legal memoranda; correspondence; deposition and trial exhibits; expert
   8   reports; attorney work product; and consultant and expert work product even if such
   9   materials contain Protected Material. Any such archival copies that contain or
  10   constitute Protected Material remain subject to this Order as set forth in Section 4
  11   (DURATION).
  12   14.   SANCTIONS
  13         Any willful violation of this Order may be punished by civil or criminal
  14   contempt, financial or evidentiary sanctions, reference to disciplinary authorities, or
  15   other appropriate action at the discretion of the Court.
  16

  17   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  18

  19   DATED: May 10, 2021                        /s/               Chan                 Yong
  20   Jeong____________________
                                                  Chan Yong Jeong, Esq.
  21                                              Attorneys for Plaintiff/Cross-Defendant
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  23
       DATED: May 10, 2021                        /s/ Mark Lee_________________
  24                                              Mark Lee, Esq.
                                                  Attorneys      for    Defendant/Cross-
  25   complainant
  26

  27         I hereby attest that all signatories listed above, on whose behalf this notice is
  28   being submitted, concur in the filing’s content and have authorized the filing.
                                                  12
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   2   Dated:      May 13, 2021           By:    /s/ Chan Yong Jeong______
   3                                             Chan Yong Jeong, Esq.
                                                 Attorney for Plaintiff/Cross-defendant
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   1                                         EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4         I, _____________________________ [full name], of _________________
   5   [full address], declare under penalty of perjury that I have read in its entirety and
   6   understand the Stipulated Protective Order that was issued by the U.S. District Court
   7   for the Central District of California on [date] in the case of ___________ [insert
   8   case name and number]. I agree to comply with and to be bound by all terms of
   9   this Stipulated Protective Order, and I understand and acknowledge that failure to so
  10   comply could expose me to sanctions and punishment, including contempt. I
  11   solemnly promise that I will not disclose in any manner any information or item that
  12   is subject to this Stipulated Protective Order to any person or entity except in strict
  13   compliance with the provisions of this Order.
  14         I further agree to submit to the jurisdiction of the U.S. District Court for the
  15   Central District of California for the purpose of enforcing the terms of this
  16   Stipulated Protective Order, even if such enforcement proceedings occur after
  17   termination of this action. I hereby appoint __________________________ [full
  18   name] of _______________________________________ [full address and
  19   telephone number] as my California agent for service of process in connection with
  20   this action or any proceedings related to enforcement of this Stipulated Protective
  21   Order.
  22   Date: ______________________________________
  23   City and State where signed: _________________________________
  24

  25   Printed name: _______________________________
  26

  27   Signature: __________________________________
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                                                  14
